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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA                      )
                                              )      CRIMINAL NO. 16-CR-10343-ADB
                                              )
                      v.                      )
                                              )
                                              )
                                              )
MICHAEL J. GURRY, RICHARD M.                  )
SIMON, SUNRISE LEE, JOSEPH A.                 )
ROWAN, and JOHN KAPOOR,                       )
                                              )
               Defendants.                    )
                                              )

                GOVERNMENT’S MOTION FOR EXTENSION OF TIME
               TO RESPOND TO DEFENDANTS’ POST-TRIAL MOTIONS

                                          (Assented-to)

       The United States of America, by and through the undersigned Assistant U.S. Attorneys,

moves for an extension of time through July 19, 2019, in which to respond to the Defendants’ post-

trial motions that were filed on June 6, 2019. The Defendants filed a joint motion for judgment of

acquittal and joint motion for a new trial, and all five defendants also filed separate motions for

judgment of acquittal and/or a new trial. The combined total of these motions exceeds 100 pages,

and additional time is necessary to fully and fairly respond to the arguments that have been raised.

       The government anticipates that it will seek leave to file a consolidated memorandum in

opposition that exceeds 20 pages, but will do so at a later date when undersigned counsel has a

better sense of how long the opposition memorandum will be.

       Undersigned counsel has conferred with counsel for Defendants, who assent to this motion

with the understanding that the Defendants may seek a corresponding extension to file reply

memoranda.
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Date: June 19, 2019                       Respectfully submitted,

                                          ANDREW E. LELLING
                                          United States Attorney

                                   By:    /s/ Mark T. Quinlivan
                                          K. NATHANIEL YEAGER
                                          FRED M. WYSHAK, JR.
                                          DAVID G. LAZARUS
                                          MARK T. QUINLIVAN
                                          Assistant U.S. Attorneys
                                          John Joseph Moakley U.S. Courthouse
                                          One Courthouse Way, Suite 9200
                                          Boston, Massachusetts 02210
                                          (617) 748-3606

                              CERTIFICATE OF SERVICE

       I, Mark T. Quinlivan, hereby certify that the foregoing document filed through the ECF
system will be sent electronically to counsel for the defendants.

                                   By:    /s/ Mark T. Quinlivan
                                          MARK T. QUINLIVAN




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